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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                         LITTLE ROCK DIVISION

PATRICIA WALKER-SWINTON                                                  PLAINTIFF

v.                                Case No. 4:18-CV-886 (KGB)

PHILANDER SMITH COLLEGE, AND
DR. RODERICK SMOTHERS, SR., PRESIDENT,
IN HIS INDIVIDIAL AND OFFICIAL CAPACITY,
AND DR. ZOLLIE STEVENSON, JR., VICE-PRESIDENT,
ACADEMIC AFFAIRS, IN HIS INDIVIDIAL AND
OFFICIAL CAPACITY                              DEFENDANTS

     PLAINTIFF’S COMBINED MOTION FOR EXTENSION OF TIME TO
      FILE RESPONSES TO DEFENDANTS’ MOTION TO DISQUALIFY
     COUNSEL AND STRIKE PLAINTIFF’S COMPLAINT AS A NULLITY
          AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT

        Pursuant to Rule 6 of the Federal Rules of Civil Procedure, Plaintiff files this

combined motion for extension of time to file responses in opposition to

Defendants’ Motion to Disqualify Counsel and Strike Plaintiff’s Complaint as a

Nullity and Motion to Dismiss Plaintiff’s Complaint (Dkts. 4, 7, hereafter

“Motions”) and states:

     1. On November 28, 2018, Plaintiff filed a Complaint in this matter. (Dkt. 1).

     2. On December 21, 2018, Defendants filed a Motion to Disqualify Counsel

and Strike Plaintiff’s Complaint as a Nullity. (Dkt. 4).

     3. On December 21, 2018, Defendants filed a Motion to Dismiss Plaintiff’s

Complaint. (Dkt. 7).


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   4. The deadline to file responses to Defendants’ Motions has not yet expired.

   5. There is “good cause” to grant Plaintiff’s motion. This motion will enable

Plaintiff to assemble necessary information to provide responses to Defendants’

Motions, is in good faith, and is not interposed for any delay or prejudice, but is

in the best interest of justice. The granting of this motion will not prejudice any of

the parties to this action.

    6. Given the significance of the issues involved in the Motions, the Plaintiff is

in need of an additional fourteen (14) days to respond.

    7. Plaintiff did not have an opportunity to confer with opposing counsel prior

to filing this motion.

       WHEREFORE, Plaintiff prays that this Court grant an extension of time to

file responses to the Defendants’ Motions until January 18, 2019, and for all other

proper and just relief.



                                              Respectfully submitted,

                                              /s/Teresa Bloodman, #2005055
                                              Attorney for the Plaintiff
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                                              Maumelle, AR 72113
                                              (870) 550-1940 - Direct
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                         CERTIFICATE OF SERVICE

      I, Teresa Bloodman, hereby certify that I have electronically filed a correct
copy of the foregoing with the United States District Court on this 3rd day of
January, 2019 using the CM/ECF system. Copies will be electronically served
using CM/ECF system notification on participants:

Ms. Carolyn B. Witherspoon
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Counsel for Defendants

                                                    /s/Teresa Bloodman




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